Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 1 of 12




                                                                 Exhibit 1
                                                              Page 1 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 2 of 12




                                                                 Exhibit 1
                                                              Page 2 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 3 of 12




                                                                 Exhibit 1
                                                              Page 3 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 4 of 12




                                                                 Exhibit 1
                                                              Page 4 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 5 of 12




                                                                Exhibit 1
                                                             Page 5 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 6 of 12




                                                                Exhibit 1
                                                             Page 6 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 7 of 12




                                                                Exhibit 1
                                                             Page 7 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 8 of 12




                                                                Exhibit 1
                                                             Page 8 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 9 of 12




                                                                Exhibit 1
                                                             Page 9 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 10 of 12




                                                                Exhibit 1
                                                            Page 10 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 11 of 12




                                                                Exhibit 1
                                                            Page 11 of 12
Case 9:23-cv-00151-KLD Document 33-1 Filed 06/03/24 Page 12 of 12




                                                                Exhibit 1
                                                            Page 12 of 12
